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TRANSCRIPT OF “This Is A Strange Turn Of Events”
Posted to CRS Firearms YouTube Channel on December 28, 2020

MH = MATTHEW RAYMOND HOOVER

All right. So | was holding off on this story because | was really hoping
something else would develop from it because it's a pretty cool story
and I'd like to Know just a little bit more.

The sponsor of today's video is autokeycard.com. If you'd like to
purchase one of these cards but you're worried it might be some sort of
ATF honey trap, you can use discreet shipping. Just go right over to
their mail-in section, print off an order form at your local library, put your
cash or money order right in that envelope with that order form, send it
out, have it shipped to your anti-gun relative, pick up your package
there, and your name isn't on some sort of list. But you gotta
remember, too, this is just a drawing on a piece of metal. For them to
charge you with a machine gun for an AutoKeyCard would be like them
going to the local grade school and arresting somebody for drawing a
machine gun on a piece of paper. There should be no way at all this
will ever be an ATF crime, but you never know what they're gonna do.
Anyway, just wanted to thank autokeycard.com for sponsoring this
video.

But here's the gist of it. Now, the story actually starts with a shoplifting
charge, but you're not gonna hear about that. | believe this whole story
is to help cover up that very shoplifting charge. Now, is it the same
person? Now, we can't 100 percent guarantee that, but it is an ATF

agent named Burk in the same area. Yes, it's possible there are two

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people that are just that similar. That's wnat had happened. However,

an ATF agent was stealing from a store. He was basically taking
expensive bottles of wine and then taking the UPC code off of
something cheaper, put it on the bottle of wine, going through self-
checkout and then paying like $19 for a $300 bottle of wine. Now, I've
heard this before and I've seen this scam played out.

Anyway, he gets caught. Then a little bit later, an ATF agent from
Columbus, Ohio, decides he's gonna sue the police because when he
went to go do a raid on an illegally possessed firearm — or that's what
it's alleged. It could just be another ATF fishing trip and it could be
about the Mossberg Shockwave. | don't know. The details are not
there.

Anyhoo, he shows up to this house. The owner of the house — or |
should say apartment. The owner of the firearm in question calls the
police. And he's going through the door. The ATF agent gives him his
badge number. He tells the police. Either which way, two officers show
up on scene. And | don't Know exactly what happens because
obviously this is an ongoing thing, so they're not releasing a whole
bunch of details. But the gist of it is the officers show up. Something's
wrong. He isn't either giving them the information they're looking or
something to that effect.

Either which way, they draw their guns, tell him to get down. Now he is
suing the police because allegedly they drew their guns even when he
announced his presence. They Tased him. They stuffed him in the car,

hauled him away and were making fun of him at the police station,

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showing each other the bodycam footage, basically making a joke out

of the whole thing. Is that shit real? | don't know, because when you
look at the picture of the guy, it’s just a screenshot from the bodycam
photo. There's a whole bunch of stuff missing. Like number one,
where the hell's his backup? How are you gonna go try to serve which
would ultimately be a felony arrest or a felony raid — because to what |
understand, all gun charges are basically felony charges — without any
backup?

Number two, he looks like a frickin’ bum. The clothes don't even fit him
properly. He's in some sort of like jogging suit with running shoes on.
No visible ID. How come he doesn't have one of those chains with a
badge on it that says ATF agent? Am | missing anything? Yeah.
Where's his ATF windbreaker? You know the one you always see on
the news with a bunch of guys running around with these black
windbreakers and on the back, in big yellow letters, it says “ATF'? All
that's missing. So | can understand why they're suspicious of him.

And what's up with the shotgun? Normally something like this would
say — wouldn't say trying to obtain a shotgun that Is in illegal possession
would be like — the story should have been written something along the
lines of: “ATF agent shows up to — ATF agent shows up to a convicted
felon's house to retrieve his gun and the cops wrongfully arrest him.
Later on, suspect was prosecuted. He had an illegally possessed gun,”
because that's the way the news worked. If the guy could not have that
gun, you think they would have plastered it everywhere, like “felon

caught with shotgun after ATF and police confusion” or something like

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that. So is it an ATF fishing trip? Does it have something to do with the

Shockwave or was this guy a felon or was he in illegal possession of
the gun’?

Which brings me to number 7, which is not a bad idea. If you're not a
felon and the ATF is at your house and they're on one of their little
fishing trips looking for solvent traps or auto sears or something like
that, it may not be a bad idea to call the cops, because now the ATF
agent is fighting the cops, saying that they were unconstitutionally
rough to him. But now the argument comes up: Should he have been
there, constitutionally speaking, in the first place at all?

So | do think you guys should show this police station some love
because they're probably gonna get crapped on by a government
agency — a tyrannical government agency, an unconstitutional
government agency — because the cop in the person's house that the
ATF agent showed up at were both protected by the Constitution, shall
not be infringed. So regardless how you slice the pie, regardless what
happened, it was unconstitutional for that ATF agent to be there in the
first place.

So no matter what, this should be a slam dunk for the police. Will it go
down in court that way? Probably not. But show the police station
some love and tell them, "Hey, we like the fact that you are
strongarming the ATF." Whether or not this had something to do with
shoplifting and whether or not this guy knew the guy personally whose
house he was at, trying to harass him for something, trying to use

muscle or something — for all | know, it could have been one of the

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people that worked at the grocery store that he got caught shoplifting

from and he was just trying to put the squeeze on them to make them
back down or something like that. Who knows? There's just so much
of the story that is just not being said. Again, that's why | was holding
off, but it's been long enough. If they were gonna release more details,
they would have by now; and it never went as a super viral story, so
they're not gonna be forced to release details. So | thought I'd throw it
down for you.

Anyway, if you'd like to help support the channel, | got my Patreon right
there. | also have affiliate links in the description down below. Even if
you don't buy what those links are for, just click on those links and
doing the Amazon shopping you're gonna do anyway, | get a little
kickback for it because you came there off my channel. Thank you for
watching. Don't forget to subscribe.

(CONCLUSION OF VIDEO)

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